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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                            Case No. CR03-493L
11          v.                                           ORDER GRANTING INSPECTION OF
12                                                       CO-CONSPIRATORS’ PRESENTENCE
     GARY WILLIAMS,                                      REPORTS
13                 Defendant.
14
15        This matter comes before the Court on defendant’s motion requesting an in camera

16 inspection of the presentence reports of any co-conspirators who may testify at defendant’s trial
17 (Dkt. # 325). The government provided copies of the relevant presentence reports, which this
18 Court reviewed. The portions of the presentence reports that bear on the credibility of the
19 testifying co-conspirators have been forwarded to the parties. Accordingly, defendant’s motion
20 is GRANTED.
21        DATED this 8th day of April, 2005.

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24
                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge
25
26
     ORDER GRANTING INSPECTION OF CO-
     CONSPIRATORS’ PRESENTENCE
     REPORTS
